Case 1:08-cr-00168-JRH-BKE Document 504 Filed 01/13/15 Page 1 of 1



              IN THE UNITED       STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION


UNITED    STATES       OF AMERICA           *


        vs.                                 *         CR 108-168
                                            *


CARLOS    JERMAINE       HUGHES             *




                                     ORDER




        Defendant filed a motion for reduction of sentence under


18 U.S.C. § 3582 (c) (2) on the basis that Amendment 782 to the

United States          Sentencing Guidelines            revised the      guidelines

applicable to drug trafficking offenses.                    (Doc. no. 501.) Even

though Amendment 782 became effective on November 1, 2014, no

defendant may be           released on          the basis   of   the    retroactive

amendment before November 1, 2015.                    See U.S.S.G.      Amend.   788.

Thus,    the Court will undertake a review of cases involving

drug    trafficking        offenses    in       due   course.    If    Defendant   is

entitled to a sentence reduction as a result of amendments to

the United States Sentencing Guidelines, the Court will make

such a reduction sua sponte. Accordingly, Defendant's motion

(doc. no. 501) is DEFERRED. The Clerk is directed to TERMINATE

the motion for administrative purposes.

        ORDER ENTERED at Augusta, Georgia, _this_                      /cSi£ day of
January,       2015.

                                            Honorable J. Randal Hall
                                                    States District Judge
                                                 lern District of Georgia
